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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK                                      DATE F·-IL_E_D_:-fJ~J....,qJ~;•Q·;,.-.,· -··
---------------------------------------------------------------)(
MICHAEL DARDASHTIAN, individually and
on behalf of COOPER SQUARE VENTURES,
LLC, NDAP, LLC and CHAl\'NELREPL Y, LLC,
                                                                      17 Civ. 04327 (LLS)
                                            Plaintiffs,

            -against-                                                 STIPULATION

DAVID OlTMAN, JEREMY FALK.,
SUMMIT ROCK HOLDINGS, LLC,
ACCEL COMMERCE, LLC,
DALVA VENTURES, LLC,
KONSTANTYN BAGAEV,
OLEKSII GLUKHAREV and
CHANNEL REPLY, INC.,

                                             Defendants.
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             WHEREAS, on June 8, 2017, Plaintiffs Michael Dardashtian ("Dardashtian''), Cooper

Square Ventures, LLC ('"CSV"), NDAP, LLC ("NDAP") and ChannelReply, LLC ("Plaintiff

Channe!Reply" and collectively with Dardashtian, CSV and NDAP, the "Plaintiffs") commenced

an action aga~nst, among others, Defendants Jeremy Falk and Summit Rock Holdings, LLC

 (collectively, the "Falk and Summit Rock Defendants"), captioned as Dardashtian, et a/. v.

 Gitman, eta!., Case No. 17~cv·4327 (LLS), in the United States District Court for the Southem

 District of New York (the "Action") asserting ~ultiple claims against Defenda11ts including,

 inter alia, breach of fiduciary duty and unjust enrichment;

              WHEREAS, on June 8, 2017, Plaintiffs filed an Order to Show Cause for Preliminary

 Injunction and Temporary Restraints seeking to restrain all Defendants from taking certain




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actions during the pendency of the Action pursuant to Rule 65 of the Federal Rules of Civil

Procedure ("Rule 65");

            WHEREAS, on June 8, 2017, Judge Edgardo Ramos denied without prejudice Plaintiffs'

application for temporary restraints as against Defendants Jeremy Falk and Summit Rock

Holdings, LLC;

           WHEREAS, the Falk and Summit Rock Defendants deny the allegations made against

them in Plaintiffs' Complaint and dispute that Plaintiffs have demonstrated the elements

necessary to impose injunctive relief pursuant to Rule 65;

            WHEREAS, the Court has scheduled a preliminary injunction hearing for June 21, 2017

at 3:00p.m.;

            WHEREAS, without acknowledging any liability or wrongdoing on the part of any

party, in order to avoid the expense, inconvenience and uncertainty of motion practice relating to

Plaintiffs' Order to Show Cause for Preliminary Injunction and Temporary Restraints;

            IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel for Plaintiffs and counsel for the Falk and Summit Rock Defendants, as follows:

                        1.   During the pendency of this action the Falk and Summit Rock Defendants

shall be:

                             (a)    restrained and enjoined from misappropriating and/or otherwise
                                    withdrawing funds belonging to CSV, NDAP and/or Plaintiff
                                    ChannelReply from Plaintiffs' banking accounts and/or from any
                                    of Plaintiffs' payment or subscription pm1als, including but not
                                    limited to Stripe, Chargebee, PayPal, Amazon, eBay and/or from
                                    any other location electronic or otherwise;

                             (b)    restrained and enjoined fi·om accessing, disclosing, reproducing,
                                    electronically sharing, electronically backing up, transferring

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                                   and/or using in any manner NDAP's customer lists and addresses,
                                   email addresses and phone numbers, vendor lists and addresses,
                                   email addresses and phone numbers, computer software programs,
                                   computer codes, passcodes, passwords, intellectual property,
                                   confidential information and trade secrets for any reason;

                             (c)   Restrained and enjoined from accessing, disclosing, reproducing,
                                   electronically sharing, electronically backing up, transferring
                                   and/or using in any manner Plaintiff CSV and Plaintiff
                                   ChannelReply's "Company Confidential Infmmation" as defined
                                   in the CSV Operating Agreement, customer lists and addresses,
                                   email addresses and phone numbers, vendor lists and addresses,
                                   email addresses and phone numbers, computer software programs;
                                   computer codes, passcodes, passwords, intellectual property,
                                   confidential information and trade secrets for any reason;

                             (d)   Restrained and enjoined from utilizing, sharing, selling,
                                   transferring, backing up, destroying, altering, wasting, terminating,
                                   discontinuing, building upon or otherwise affecting in any manner
                                   the proptietary and/or confidential information and code that was
                                   developed by CSV's developers, Konstantyn Bagaiev and Oleksii
                                   Glukharev, for the sole benefit of Plaintiffs CSV, ChannelReply
                                   and/or NDAP;

                             (e)   Restrained and enjoined from soliciting, bribing, contracting with,
                                   offering employment to, offering an equity pm1icipation in any one
                                   of Defendants' business entities and/or otherwise in any manner
                                   interfering with NDAP, CSV and ChannelReply's business
                                   relationships with its customers, vendors, employees, partners,
                                   investment partners, prospective purchasers and/or subcontractors,
                                   including but not limited to Konstantyn Bagaiev and Oleksii
                                   Gh.1kharev;

                             (f)   Restrained and enjoined from inducing or in any other manner
                                   soliciting Plaintiffs, NDAP, CSV and ChannelReply's customers,
                                   vendors, employees and/or subcontractors, partners, prospective
                                   purchasers, investment partners, including but not limited to
                                   Konstantyn Bagaiev and Oleksii Gh.tkharev to te11ninate or alter
                                   their business relationship and/or contractual relationship with
                                   Plaintiffs, or any one of them;

                             (g)   Restrained and enjoined from misappropriating Plaintiff Michael
                                   Dardashtian's identity, including but not limited to his business
                                   identity, his emails, his personal financial and identifier
                                   information, his tax documents, and/or falsely representing

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                                   themselves in any manner as Michael Dardashtian or under
                                   Plaintiff's business name "Michael Dash;"

                             (h)   Restrained and enjoined from contacting or in any other manner
                                   communicating with any of Plaintiffs, NDAP, CSV, and/or
                                   Plaintiff ChannelReply's customers, vendors, employees,
                                   subcontractors, investors, prospective puJchasers, including but not
                                   limited to Konstantyn Bagaiev and Oleksii Glukharev for any
                                   reason whatsoever including but not limited to messaging
                                   customers and asking them to reconnect their service or API for
                                   any purpose including to switch to a new payment account;

                             (i)   Restrained and enjoined from            using the tradename
                                   "ChannelReply," "Channel Reply," "Channel Reply, Inc.,"
                                   "Channel Reply, Inc.,:• "Channel Reply, LLC," "Channe!Reply,
                                   LLC" or any other analogous or confusingly similar name to that
                                   of Plaintiffs "ChannelReply" for any reason whatsoever;

                             G)    Restrained and enjoined from using, in any way, shape or form,
                                   and for any purpose, any of NDAP, CSV and Plaintiff
                                   Channe!Reply's confidential, proprietary and trade· secret
                                   information, including but not limited to Plaintiffs codes, software
                                   and processes, to compete against Plaintiffs, NDAP, CSV and/or
                                   ChannelReply and from replicating or trying to replicate or
                                   recreate an identical or functionally similar analog of any of
                                   NDAP, CSV and Plaintiff ChannelReply's confidential,
                                   proprietary and trade secret infonnation, including but not limited
                                   to Plaintiffs codes, software and processes, to compete against
                                   Plaintiffs, NDAP, CSV and/or Channel Reply;

                             (k)   Restrained and enjoined from engaging in any action(s)
                                   whatsoever which are competitive to Plaintiffs NDAP, CSV and/or
                                   ChannelReply's businesses or interests;

                             (l)   Restrained and enjoined from engaging in any communications
                                   with any proposed purchaser ofNDAP and/or otherwise interfering
                                   with any potential sale ofNDAP; and

                             (m)   The Falk and Summit Rock Defendants shall preserve and not
                                   alter, tamper with or destroy in any way, all physical or electronic
                                   data, documents, removeable media, personal computers, work
                                   computers, hard drives associated with personal and work
                                   computers, email accounts and corresponding passwords,
                                   electronic storage devices including from or on the "cloud," remote
                                   servers, code repositories, writeable compact discs or CDs,

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                                        writeable digital video discs or DVDs, USB drives, floppy discs,
                                        files, messages, emails or any other storage device in their
                                        possession, if any, containing information relating to their
                                        activities with NDAP, CSV and ChanneiReply, Channel Reply,
                                        Inc., Dalva Ventures, Summit Rock Holdings, Accel Commerce
                                        and any other related companies without alteration and make them
                                        available for review by Plaintiffs and their authorized agents
                                        pursuant to discovery requests made in connection with this action.

                         2.   Nothing contained herein shall be deemed an admission of liability on the

part of the Falk and Summit Rock Defendants or a waiver of any rights of the Plaintiffs.

                         3.   The foregoing is without prejudice to all the Falk and Summit Rock

Defendants' and Plaintiffs' rights to present aU arguments, both factual and legal, in defense and

in suppo11 of the claims asserted in this Action.

Dated: New York, New York
       July 6, 2017
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SO ORDERED:

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Hon. Louis L?/'•Z?I J                       t   ,~
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